UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,

                      Plaintiff,

       v.                                       Case No. 21-cv-05350-PKC-RER

 RICHARD XIA, a/k/a YI XIA, et al.,

                      Defendants,

       and

 JULIA YUE, a/k/a JIQUING YUE, et al.,

                      Relief Defendants.

                                    [PROPOSED] ORDER

       AND NOW, this _________ day of _________________, 2022, upon consideration of

Plaintiff’s Notice of Motion (ECF 99) and Plaintiff’s memorandum of law in support thereof

(ECF 100), relief defendants Xi Verfenstein and Xinming Yu’s opposition (and any other

response to the Motion), and upon the entire record in this matter, IT IS HEREBY ORDERED

THAT, as to relief defendants Xi Verfenstein and Xinming Yu, the Plaintiff’s Motion is

DENIED.

       IT IS SO ORDERED.

                                                   ____________________________________
                                                   The Honorable Pamela K. Chen
                                                   United States District Judge
